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                         Exhibit B
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,

          v.                                                                22-CR-109 (LJV)

PAYTON GENDRON,

                  Defendant.
____________________________________

                        DEFENDANT’S PROPOSED SCHEDULING ORDER

Discovery Motions


February 16, 2024:         The United States shall make available to the defendant all non-expert Fed.
                           R. Crim. P. 16 discovery and all material for which disclosure is mandated
                           by Brady v. Maryland, 373 U.S. 83 (1963). 1


May 2, 2024:               Defense discovery motions:
                            Motion for Informational Outline regarding aggravating factors;
                            Motion for Bill of Particulars;
                            Discovery relating to statutory and non-statutory aggravating factors
                             contained in Notice of Intent to Seek the Death Penalty;
                            Discovery relating to potential mitigating factors, e.g., evidence
                             regarding conditions of confinement relevant to the absence of future
                             danger;
                            Case-specific discovery. 2


June 3, 2024               Government responses to defense discovery motions.



1
    This deadline is subject to the parties’ continuing discovery obligations.
2
  This pleading refers to specific items of discovery identified by the defense as missing or incomplete
from previous disclosures. The process of reviewing discovery that has been provided and identifying and
requesting additional material from the government has been ongoing throughout the pendency of this
case and the parties have worked together to resolve any such matters without court involvement.
Accordingly, the defense will file specific motions to compel discovery only if necessary and will reach
out to the government in advance in an attempt to resolve these issues short of litigation.

                                                        1
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July 1, 2024          Defense replies to government responses to discovery motions.


July 17, 2024         Oral argument/evidentiary hearings on motions and requests.


August 19, 2024       All ordered disclosures due (informational outline regarding aggravating
                      evidence, bill of particulars, etc.; all disclosures by United States under Fed.
                      R. Evid. 404(b)(3), Fed. R. Evid. 609, and Fed. R. Evid. 807(b)).


Specific, Non-Discovery Dependent Pleadings


June 3, 2024          Motion to Dismiss 18 U.S.C. § 924 (c) Counts; challenges to the
                      constitutionality of the Federal Death Penalty Act; claims that the
                      government is categorically precluded from seeking the death penalty due
                      to the defendant’s age.


July 3, 2024          Government responses to defense motions challenging pleadings and
                      evidence.


July 31, 2024         Defense replies to government responses to defense motions challenging
                      pleadings and evidence.


August 28, 2024       Oral argument/evidentiary hearing on defense motions challenging
                      pleadings and evidence.


14 days after rulings on previously filed defense motions:
                      Parties to confer and file joint proposed scheduling order covering litigation
                      of discovery-dependent defense motions challenging pleadings and
                      evidence (including motions challenging 404(b), validity of aggravating
                      factors, motions to suppress, motions to enforce constitutional limits on
                      victim impact evidence, motions to limit video/demonstrative evidence), to
                      be followed by litigation related to trial procedures, such as Rule 12.2,
                      venue, and jury selection.




                                                 2
